 Case 2:09-cr-00130-PGS            Document 94       Filed 05/29/09       Page 1 of 1 PageID: 690




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,
                                                                    No. 09-cr-130 (PGS)

                         v.
                                                                           ORDER

DALNAVE NAVIGATION, INC.,
PANAGIOTIS STAMATAKIS, AND
DIMITRIOS PAPADAKIS.



          This matter having come before the Court and for good cause having been shown, it is

hereby

          ORDERED that all motions for Fed. R. Crim. P. 15 depositions by Defendants must be

filed on or before June 5, 2009; and it is further

          ORDERED that all responses to said motions for Rule 15 depositions must be filed on or

before June 12, 2009; and it is further

          ORDERED that a hearing on said motions for Rule 15 depositions will be held on June

18, 2009 at 12:00 p.m in Trenton, New Jersey; and it is further

          ORDERED that all other pre-trial motions shall continue as previously ordered; and it is

further

          ORDERED that trial shall commence on November 9, 2009 at 10:00 a.m.




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                                                      PETER G. SHERIDAN, U.S.D.J.
